Case 2:05-cV-02339-.]PI\/|-de Document 5 Filed 07/08/05 Page 1 of 2 Page|D 1

IN THE UNITED STATES DISTRICT COURT BV“'%D‘Q‘
FOR THE WESTERN DISTRICT OF TENNESSEEU:£D JUL_ _8 H

 

WESTERN DIvIsIoN P hr 014
MWGC([D_
PLAN EXPRESS, INC., q%%§ IF}FST§:WIESMTH(§BT
Plaintiff,
v. No. 2=0s-Cv-02339-JPM_de

JOHN B. FURMAN,

Defendant.

 

ORDER GRAN'I`ING EXTENSION OF TIME
WITHIN WHICH TO ANSWER OR OTHERWISE
RESPOND TO PLAIN'I`IFF’S COMPLAINT

 

Before the Court is the Unopposed Motion of Defendant, John B. Furman for Extension of
Tirne Within Which to Answer or Otherwise Respond to Plaintiff`s Complaint. The Court hereby
finds the motion is Well-taken and should be granted

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECR_EED, that Defendant John B.
Furman shall have through and including Julyl 5, 2005, in which to answer, move, plead, or
otherwise respond to Plaintiff’ s Cornplaint.

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515MAGISTRATE IUDGE

Date: M g/ ¢’?00~.>#

 

Thls document entered on the docket shea in compliance
with Rule 58 and/or 79(a) FRCP on '7’[; Q 5 6

 

UN1TED `sTATS D1STRC1T COURT WESTRNE 1CSR1T oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 2:05-CV-02339 Was distributed by faX, mail, or direct printing on
July ll, 2005 to the parties listed.

 

 

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Honorable J on MeCalla
US DISTRICT COURT

